AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Eastern District of Tennessee

 

 

 

United States of America )
v. )
Case No
STEPHANIE YVETTE REED ) ‘ £4
alk/a STEPHANIE RAINWATER ) 319-ms- OCG
a/kia STEPHANIE EVETTE RAINWATER
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 4, 2019 in the county of Blount in the
Eastern District of Tennessee , the defendant(s) violated:
Code Section Offense Description
Title 18, U.S. Code, Section 115 Threats to Federal Officials

This criminal complaint is based on these facts:

See Affidavit in Support of Criminal Complaint attached hereto and incorporated herein.

sf Continued on the attached sheet.

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, . sn Martin, FBI Task Force Officer

 

)
) Printed name and title

)

Sworn to‘before me-and signed in my presence.

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Date: 07/25/2019 “Drake a \2 ay

Judge’s signature

City and state: Knoxville, Tennessee Debra C. Poplin, U.S. Magistrate Judge

 

Printed name and title

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' UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

UNITED STATES OF AMERICA

v. Case No. 3:19-MJ- L1O% 4

STEPHANIE YVETTE REED
a/k/a STEPHANIE RAINWATER
a/k/a STEPHANIE EVETTE RAINWATER

 

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Bryan Martin, Trooper with the Tennessee Highway Patrol, being duly sworn, do
depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

l. lam a Trooper with the Tennessee Highway Patrol and have been so employed
since July 2000. I am currently assigned to the Knoxville Division of the Federal Bureau of
Investigation (“FBI”) as a sworn Federal Task Force Officer. In this capacity, my primary
responsibilities include investigating individuals involved in domestic and international terrorism
crimes, including crimes occurring within the Eastern District of Tennessee.

2. The information contained in this affidavit is based on my personal observations,
observations of other law enforcement officers as related to me, my review of official police and
government reports, and consultation with other law enforcement officers involved in the
investigation.

3. This affidavit is made in support of an application for a complaint and arrest
warrant for the arrest STEPHANIE YVETTE REED (“REED”) for a violation of Title 18,
United States Code, Section 115 (Threats to Federal Officials). Title 18, United States Code,

Section 115(a)(1)(B) provides that whoever “threatens to assault, kidnap, or murder, ... a Federal

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law enforcement officer ... with intent to impede, intimidate, or interfere with such ... law
enforcement officer while engaged in the performance of official duties, or with the intent to
retaliate against such ... law enforcement officer on account of the performance of official
duties” has committed a crime.

PROBABLE CAUSE

4. In December 2018, the Knoxville Division of the FBI began investigating reports
that REED had made several threats on various social media platforms. Specifically, it was
reported to the FBI that REED posted on Facebook that she had pipe bombs. FBI Special Agent
William Weiss was assigned to the investigation.

5. In December 2018, Special Agent Weiss attempted to locate REED but was
unsuccessful. However, Special Agent Weiss interviewed REED’s sister and mother. REED’s
sister stated that REED is homeless, suffers from mental illness, and has substance abuse
problems. REED’s sister also stated the family is afraid of REED because of REED’s continued
threats to kill them. During these interviews, Special Agent Weiss left his business card with
REED’s sister and mother. |

6. In April 2019, REED posted a photograph on Instagram depicting REED’s
Cherokee Country National Identification alongside Special Agent Weiss’s business card. In the
caption to the photograph, REED stated, “FBI BEST SHOW UP IN MY AREA IVE GOT
ACESS TO ARTILLERY AKA MASS DESTRUCTION I THINK YOUR FAMILIAR
ALREADY.” |

7. On June 4, 2019, Special Agent Weiss again interviewed REED’s mother. This is

the last contact Special Agent Weiss has had with any member of REED’s family.

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8. On July 7, 2019, Special Agent Weiss received a voice message from REED on
his desk phone. The voice message was made on July 4, 2019 at 7:01 pm. In the voice message,
REED stated the following:

[Inaudible] This is Stephanie Reed. I heard you been looking for
me a few times at my mother’s address on Best Road. Well let me
tell you something you [inaudible] bitch. I am Stephanie Yvette
Reed. I got a bar code in my fucking head. I am Donald Trump’s
great-great niece and I called you several times about Marshall
Mathers' threatening to fucking kidnap me and murder me.

[Inaudible] So now I’m coming to fucking kill you motherfucker.
Bye.

9. Based on incoming telephone call information collected by the FBI’s voice
messaging system, the telephone number associated with this voice message belongs to
Executive Lodge, located at 215 S. Hall Road, Alcoa, Tennessee. Executive Lodge has

confirmed that REED was.a registered occupant at the hotel on July 4, 2019.

 

' The FBI believes that the individual identified by REED as “Marshall Mathers” is Marshall
Bruce Mathers III, a rap artist professionally known as Eminem.

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CONCLUSION
10. Based on the foregoing, I respectfully submit that there is probable cause to
believe that, within the Eastern District of Tennessee, REED violated Title 18, United States

Code, Section 115.
Respectfully submitted,

Baja At

Bryan’Martin

Task Force Officer
Federal Bureau of Investigation

Subscribed and sworn to before me on July 25, 2019:

Dib aPew

United States Magistrate Midge

 

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